            Case 1:14-cr-00061-AWI-BAM Document 35 Filed 04/09/14 Page 1 of 1


 1 BENJAMIN B. WAGNER
   United States Attorney
 2 GRANT B. RABENN
   KEVIN P. ROONEY
 3 Assistant United States Attorney
   2500 Tulare Street, Suite 4401
 4 Fresno, CA 93721
   Telephone: (559) 497-4000
 5 Facsimile: (559) 497-4099

 6
   Attorneys for Plaintiff
 7 United States of America

 8
                                    IN THE UNITED STATES DISTRICT COURT
 9
                                      EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                           CASE NO. 1:14-CR-00061-AWI-BAM
12
                                     Plaintiff,          ORDER TO PARTIALLY UNSEAL SEARCH
13                                                       WARRANTS AND OTHER COURT ORDERS
                               v.
14
     DERIK CARSON KUMAGAI, AND
15   SAYKHAM SOMPHOUNE,
     A/K/A “OAT,”
16
                                     Defendants.
17

18
            The Warrant Papers, defined in the Application and Attachment A, in the above-referenced
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     matter were sealed by United States Magistrate and District Judges in the Eastern District of California,
20
     Fresno Courthouse.
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            IT IS HEREBY ORDERED that the Warrant Papers be partially unsealed as to the defendants
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     for discovery purposes.
23
            IT IS FURTHER ORDERED that the Warrant Papers shall remain sealed as to the public
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     pursuant to the sealing orders for the Warrant Papers until further order from this Court.
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26
     IT IS SO ORDERED.
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     Dated: April 9, 2014
28
                                                   SENIOR DISTRICT JUDGE
                                                        3
